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FD-302 (Rev. 5-8-10)

                                                             UNCLASSIFIED//FOOO
                                                   FEDERAL BUREAU OF INVESTIGATION
                                                     176-WF-3366759-GOSSJANKOWSKI


                                                                                                                          Date of entry       01/19/2021



          On January 18, 2021, at approximately 1:30 p.m., Agents and Task Force
       Officers of the FBI Washington Field Office (WFO) Safe Streets Task Force
       (SSTF) executed an arrest warrant upon VITALI GOSSJANKOWSKI,
                              search warrant upon GOSSJANKOWSKI's residence
                                , Washington, D.C.; specifically his room (Room A)
       within this residence, Room A. These warrants were issued in the United
       States District Court for the District of Columbia on January 18, 2021.
       Present for the search warrant were Special Agents Thomas Ryan, James
       Mulvihill, Benjamin Bullington, Richard Migliara, John Hoyt, David Johnson;
       Task Force Officers (TFO) Scott Brown, Vincent Witkowski, Ali Ramahdan, and
       Sign Language interpreters Samantha Jo Schein, Alexandria
       Pucciarelli Miller, Rebecca Halls Hasbrouck.

          TFO Brown sent a text to GOSSJANKOWSKI asking him to come to the front
       door of                              , Washington, D.C. At approximately
       1:30 p.m., GOSSJANKOWSKI was arrested at the front foor. Found on
       GOSSJANKOWSKI's person was his iPhone 11 Pro Max. GOSSJANKOWSKI was wearing
       a light blue UNDER ARMOUR jacket with a hood (evidence item 1B2).

          Agents then entered                              , Washington, D.C. and
       moved directly to GOSSJANKOWSKI's room. GOSSJANKOWSKI's room was located on
       the second floor, and to the left of the bathroom. GOSSJANKOWSKI's room was
       vacant. The following is what was seized from GOSSJANKOWSKI's room with the
       exception of 1B7:

                           1B#                     Item: Description                Locating Officer                              Location

               1B1                               Droid Phone                   SA Bullington                    Room A, GOSSJANKOWSKl's room;
                                                                                                                In box on floor




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   Investigationon     01/18/2021           at    Washington, District Of Columbia, United States (In Person)

   File#   176-WF-3366759-GOSSJANKOWSKI                                                                                      Date drafted    O 1/18/2021

   � Benjamin J. Bullington
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                                         176-WF-3366759-GOSSJANKOWSKI
                          (U//FOUO) Search Warrant executed upon
                                                   , Washington,
                                                                             ■
                 182                 Blue Coat               SA Mulvihill         GOSSJANKOWSKI's Person

                 183                 Tablet in black case    SA Migliara          Room A, GOSSJANKOWSKl's room;
                                                                                  On floor by bed


                 184                 Silver Apple Laptop     SA Migliara          Room A, GOSSJANKOWSKI's room;
                                     Serial                                       In box on floor
                                     FVFZLQDQJ1WK

                 185                 Silver Apple Laptop     SA Migliara          Room A, GOSSJANKOWSKl's room;
                                     Serial                                       In box on floor
                                     CO2C80V6LVDN


                 186                 Black Lenovo laptop     SA Migliara          Room A, GOSSJANKOWSKI's room;
                                                                                  In box on floor

                 187                 One (1) pair of black   SA Ryan              Kitchen, on counter
                                     Nike sunglasses


                 188                 iPhone 11 Pro Max       SA Mulvihill         On GOSSJANKOWSKl's person


                 189                 Red iPhone XR           SA Bullington        Room A, GOSSJANKOWSKl's room;
                                                                                  In box on floor



             All items were seized by SA Bullington at approximately 2:19 p.m. The
          evidence items were transported to WFO and processed according to FBI
          policy.




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